                           UNITED STATES OF AMERICA
                        MERIT SYSTEMS PROTECTION BOARD

     NATACHA LAMOUR,                                 DOCKET NUMBER
                 Appellant,                          AT-0752-23-0067-I-1

                  v.

     DEPARTMENT OF HOMELAND                          DATE: August 26, 2024
       SECURITY,
                 Agency.



                  THIS ORDER IS NONPRECEDENTIAL 1

           Thomas Tierney , Esquire, Norwalk, Connecticut, for the appellant.

           Kenneth William , Atlanta, Georgia, for the agency.

                                           BEFORE

                                Cathy A. Harris, Chairman
                             Raymond A. Limon, Vice Chairman
                                Henry J. Kerner, Member*

           *Member Kerner did not participate in the adjudication of this appeal.

                                     REMAND ORDER

¶1         The appellant has filed a petition for review of the initial decision, which
     affirmed her removal.       For the reasons discussed below, we GRANT the
     appellant’s petition for review, VACATE the initial decision, and REMAND the


     1
        A nonprecedential order is one that the Board has determined does not add
     significantly to the body of MSPB case law. Parties may cite nonprecedential orders,
     but such orders have no precedential value; the Board and administrative judges are not
     required to follow or distinguish them in any future decisions. In contrast, a
     precedential decision issued as an Opinion and Order has been identified by the Board
     as significantly contributing to the Board’s case law. See 5 C.F.R. § 1201.117(c).
                                                                                        2

     case to the regional office for further adjudication in accordance with this
     Remand Order.

                                       BACKGROUND
¶2        The appellant most recently held the GS-14 position of Supervisory
     Immigration Services Officer. Initial Appeal File (IAF), Tab 5 at 13. In June
     2022, the agency proposed her removal based on three charges. IAF, Tab 8 at 5.
     The first charge was failure to follow supervisory instructions, and it included 21
     specifications.   Id. at 5-14.   Most alleged that she was instructed, in January
     2021, to stop sending unencrypted emails with sensitive information to her
     personal email account, but she continued to do so on numerous occasions
     between February and July 2021. Id. at 5-13. A handful of other specifications
     alleged that she was instructed, in April 2022, to copy her supervisor on all future
     emails, but the appellant did not do so on several occasions between April and
     May 2022. Id. at 13-14. The second charge in the proposed removal was failure
     to follow policy, and it included four specifications.       Id. at 15-16.    Three
     concerned other emails containing sensitive information that the appellant sent to
     her personal email address between August 2020 and January 2021, contrary to
     agency policy, and the fourth specification concerned the appellant making a copy
     of her work credential in March 2021.      Id. The third and final charge in the
     proposed removal was neglect of duty, and it included two specifications.        Id.
     at 17-18. One alleged that the appellant sent yet another email with sensitive
     information to her personal account, in August 2020, when she reportedly
     intended to send it to a different email address within the agency. Id. at 17. The
     other specification alleged that the appellant failed to maintain her access to
     several agency systems due to inactivity for a period between April and July
     2021. Id. at 17-18.
¶3        After the appellant responded to the proposal, the deciding official issued an
     October 2022 decision sustaining all the allegations and imposing the removal
                                                                                         3

     action. IAF, Tab 5 at 15-21. The appellant filed the instant appeal challenging
     her removal. IAF, Tab 1.
¶4           The administrative judge developed the record and held the requested
     hearing before affirming the appellant’s removal. IAF, Tab 57, Initial Decision
     (ID).    He found that the agency proved each specification under each charge,
     based largely on the appellant’s admissions about underlying facts. 2 ID at 3-13.
     The administrative judge next found that the appellant did not prove her claims of
     race discrimination, ID at 13-16, or reprisal for engaging in equal employment
     opportunity (EEO) activity, ID at 16-17. Lastly, the administrative judge found
     that the agency met its burden regarding nexus and the reasonableness of its
     penalty. ID at 17-19.
¶5           The appellant filed a petition for review. Petition for Review (PFR) File,
     Tab 3. The agency filed a response to the appellant’s petition for review, PFR
     File, Tab 12, and the appellant filed a reply, PFR File, Tab 16.

                       DISCUSSION OF ARGUMENTS ON REVIEW
¶6           In her petition for review, the appellant does not dispute the charges or the
     administrative judge’s findings about the same.        She does, however, present
     several arguments about her affirmative defenses, PFR File, Tab 3 at 5-19, and
     the penalty, id. at 19-21. The appellant also argues that the administrative judge
     exhibited bias. Id. at 21-27.




     2
       Rather than dispute the facts underlying her removal, the appellant provided
     explanations for why she engaged in the conduct. For example, she indicated that she
     sent most of the offending emails to secure documentation because she anticipated
     unwarranted discipline from her new supervisor who had engaged in a pattern of
     harassment of the appellant and others. ID at 8, 10; IAF, Tab 6 at 6-9, 14-21; Hearing
     Transcript at 199-205 (testimony of the appellant). The appellant further described
     nearly 20 years of successful service before the commencement of this pattern of
     harassment, which led to her counseling through the Employee Assistance Program,
     numerous unanswered complaints about her supervisor, an extended leave of absence,
     medical treatment, and a request for transfer. IAF, Tab 6 at 6-9, 14-21.
                                                                                         4

     The administrative judge must further adjudicate the appellant’s discrimination
     claims.
¶7        The appellant’s discrimination affirmative defense primarily concerns the
     actions of her direct supervisor, who held the position of Field Office Director.
     IAF, Tab 46 at 4-6. In her prehearing submission, the appellant stated that the
     Field Office Director created a hostile and toxic work environment based on the
     appellant’s race and ethnicity, which is Haitian. Id. at 5. The appellant alleged
     that the Field Office Director targeted individuals who were not Black and told
     the appellant that she “wasn’t [B]lack enough” because the appellant would not
     assist in her discrimination against non-Black employees.        Id.   The appellant
     further alleged that the Field Office Director was “a racist bully who hated all
     other races besides her own, which was African American.”              Id.   She then
     reiterated by stating that this individual “hated Caucasians, Asians, Hispanics,
     and ever[y] other [B]lack employee[] who [was] not of African descent.” Id.¶8        Just a couple of weeks after the appellant made these allegations, the
     administrative judge held a prehearing conference.        The associated summary
     stated that the appellant was only raising claims of race discrimination and EEO
     reprisal. IAF, Tab 53. The prehearing conference summary made no mention of
     color, ethnicity, or national origin.   Id.   It does not state that the parties had
     discussed the particulars of the appellant’s discrimination allegations, and it does
     not state that the appellant had abandoned any of them. Id.¶9        Though given the opportunity to object to the prehearing conference
     summary, the appellant did not do so.            Hearing Transcript (HT) at 5-6.
     Nevertheless, the appellant and the agency both elicited hearing testimony about
     the nuanced allegations described above.            For example, the appellant’s
     representative elicited testimony from the appellant about how the Field Office
     Director constantly made racist comments about employees who were not Black,
     described the appellant as not Black enough, and made fun of the appellant’s
     Haitian accent with another employee.          HT at 178-79, 180-81, 185, 189
                                                                                         5

      (testimony of the appellant). Agency counsel cross-examined the appellant about
      the same. HT at 216-17 (testimony of the appellant). Both parties also elicited
      testimony about these and other allegations of discrimination from the Field
      Office Director, who denied any wrongdoing, including any discrimination based
      on an individual’s Haitian descent. HT at 29-30, 48-59 (testimony of the Field
      Office Director).
¶10         The parties separately elicited testimony from three other employees who
      characterized themselves as victims of or witnesses to the Field Office Director’s
      discrimination and other abuse. To illustrate, one described his time working as a
      Section Chief for the Field Office Director as the worst experience in his 25 years
      of service.    HT at 122 (testimony of first coworker).     Some of the “hostile”
      behavior he reported including her screaming at employees, calling individuals
      who were not Black “slave master,” and making other racially divisive comments
      “all the time.” HT at 123, 126-27. This coworker stated that “everything with
      [the Field Office Director] is race,” and he agreed to a demotion to get away from
      the situation. HT at 123-24, 127.
¶11         A second coworker of the appellant also testified, describing the Field
      Office Director’s leadership style as that of a “dictator,” and describing the work
      environment she created as “toxic.”       HT at 143, 145 (testimony of second
      coworker). This individual similarly testified that he left his job as Section Chief
      under the Field Office Director for these reasons, while further suggesting that it
      had negatively impacted his health and well-being. HT at 145-47. He was less
      certain about whether the Field Office Director’s toxic behavior stemmed from
      discriminatory animus. HT at 148-49.
¶12         Finally, a third coworker of the appellant, who held the position of
      Supervisory Immigration Services Officer, described the Field Office Director as
      “hostile.”    HT at 160-63 (testimony of third coworker).      He indicated that it
      sometimes appeared as if the Field Office Director’s actions were discriminatory
      towards White employees. HT at 163-64, 174. This individual described how the
                                                                                         6

      Field Office Director’s behavior negatively impacted his health and well-being,
      and he described how the appellant relayed the same about her health and
      well-being. HT at 165-66. This witness, like the others, described the situation
      as contributing to his leaving the job. HT at 166-67.
¶13        In the initial decision, the administrative judge stated that the appellant had
      not alleged that the Field Office Director exhibited discriminatory behavior
      towards employees of Haitian descent or the existence of a hostile work
      environment based on national origin. ID at 15 n.4. We disagree. While most of
      the allegations and testimony seemed to implicate race or color, some implicated
      the appellant’s national origin, as described above.
¶14        The Board has identified several nonexhaustive factors to consider when
      determining whether an administrative judge erred in not addressing an
      appellant’s affirmative defenses such that remand is necessary.         Among the
      relevant factors are: (1) the thoroughness and clarity with which the appellant
      raised an affirmative defense; (2) the degree to which the appellant continued to
      pursue the affirmative defense in the proceedings below after initially raising it;
      (3) whether the appellant objected to a summary of the issues to be decided that
      failed to include the potential affirmative defense when specifically afforded an
      opportunity to object and the consequences of the failure were made clear;
      (4) whether the appellant raised the affirmative defense or the administrative
      judge’s processing of the affirmative defense claim in the petition for review;
      (5) whether the appellant was represented during the course of the appeal before
      the administrative judge and on petition for review, and if not, the level of
      knowledge of Board proceedings possessed by the appellant; and (6) the
      likelihood that the presumptive abandonment of the affirmative defense was the
      product of confusion, or misleading or incorrect information provided by the
      agency or the Board. Thurman v. U.S. Postal Service, 2022 MSPB 21, ¶ 18.
¶15        Most of these factors tend to support the conclusion that remand is required
      in this case. The only ones that could weigh otherwise are the third and fifth
                                                                                      7

factors, because the appellant was represented by an attorney and did not object
to the prehearing summary identifying race discrimination as the only type of
discrimination alleged. However, consistent with the sixth factor, it seems quite
likely that the failure to object to the prehearing conference summary was nothing
more than the product of confusion. In many contexts, there is a blurring of the
lines between some forms of discrimination, and that appears to be the case here.
See generally Salas v. Wisconsin Department of Corrections , 493 F.3d 913, 923
(7th Cir. 2007) (recognizing that “[i]n the federal courts, there is uncertainty
about what constitutes race versus national origin discrimination under Title VII,”
and finding that an individual who identifies himself as Hispanic without
describing a national origin could nevertheless pursue a claim of discrimination
based on national origin); Deravin v. Kerik, 335 F.3d 195, 202 (2d Cir. 2003)
(finding that “racial categories may overlap significantly with nationality or
ethnicity,” such that “the line between discrimination on account of race and
discrimination on account of national origin may be so thin as to be
indiscernible”) (internal quotes omitted); Complainant v. Brennan, Equal
Employment Opportunity Commission (EEOC) Appeal No. 0120151208, 2015
WL 3955326, at *1 &amp; n.1 (June 19, 2015) (recognizing that a complainant alleged
discrimination based on “race (Mexican)” and indicating that, “[w]hile the EEOC
views Mexican to constitute a national origin and not a race, [the EEOC would]
accept the definition as provided by [c]omplainant”); EEOC Enforcement
Guidance on National Origin Discrimination, EEOC Notice No. 915.005, § II.C.1
(Nov.    18,     2016),    https://www.eeoc.gov/laws/guidance/eeoc-enforcement-
guidance-national-origin-discrimination     (“National origin discrimination often
overlaps with race, color, or religious discrimination because a national origin
group may be associated or perceived to be associated with a particular religion
or race.”); EEOC Compliance Manual, § 2-II.A.1.b, 2009 WL 2966754 (Aug. 6,
2009) (“National origin discrimination includes discrimination based on place of
origin or on the physical, cultural, or linguistic characteristics of a national origin
                                                                                              8

      group.      Sometimes,     national    origin   discrimination    overlaps    with   race
      discrimination, and in such cases, the basis of discrimination can be categorized
      as both race and national origin.”).
¶16         Once again, the appellant unambiguously described herself as Haitian, and
      she described the Field Office Director as an African American who had, inter
      alia, made fun of the appellant’s Haitian accent. She also described the Field
      Office Director as hating “Caucasians, Asians, Hispanics, and ever[y] other
      [B]lack employee[] who [was] not of African descent.” IAF, Tab 46 at 5. In the
      absence of an explicit abandonment of these and other similar allegations, it is
      understandable that the appellant and her attorney did not recognize the
      administrative judge’s prehearing summary as omitting any of these claims. One
      can easily understand how the prehearing summary’s reference to “race
      discrimination” might have been interpreted as shorthand for the appellant’s more
      detailed allegations that implicated race, color, ethnicity, and national origin.
      Plus, the initial decision seems to suggest that the administrative judge simply
      overlooked some of those allegations, rather than purposefully deciding that they
      were abandoned. ID at 15 n.4.
¶17         Looking beyond any distinction between race, color, ethnicity, and national
      origin, there are other reasons why the appellant’s discrimination claim requires
      remand.    Within the initial decision, the administrative judge did not make
      credibility findings about the conflicting hearing testimony 3 and whether the
      discriminatory behavior alleged throughout this appeal occurred. ID at 14-15.
      The administrative judge stated that any racially based hostile work environment
      3
        In addition to hearing testimony, the record includes other evidence about the issue.
      For example, the Field Office Director sat for a deposition in which she indicated that
      she believed the appellant was born in Haiti, but denied that she had any problem with
      that and denied that she told the appellant that the appellant was not Black enough.
      IAF, Tab 48 at 176-77. On the other hand, a sworn written statement from one of the
      testifying witnesses describes how the Field Office Director routinely engaged in erratic
      bullying behavior, much of which was explicitly tied to individuals’ race or heritage, all
      of which led to him agreeing to a demotion to leave the office after more than 20 years
      of service. IAF, Tab 46 at 13-16.
                                                                                        9

      created by the Field Office Director was not directed at the appellant or other
      Black employees, and that the appellant did not maintain otherwise during her
      hearing testimony. ID at 15. But, as alluded to previously, the hearing transcript
      reflects otherwise.    Among other things, the appellant testified that the Field
      Office Director described the appellant as “not Black enough” because the
      appellant would not help her harass a White peer. HT at 185 (testimony of the
      appellant). Thus, the appellant did allege that she was subject to discriminatory
      behavior, and it is necessary to make credibility findings about the same. The
      administrative judge is in the best position to make those credibility findings.
      Mastrullo v. Department of Labor, 123 M.S.P.R. 110, ¶ 27 (2015).
¶18        While denying the appellant’s discrimination affirmative defense, the
      administrative judge also cited another rationale with which we disagree.       He
      concluded that the Field Office Director gave uncontroverted testimony that she
      was not involved in proposing or effecting the appellant’s removal. ID at 15.
      However, the Field Office Director was the appellant’s direct supervisor. She
      was the supervisor who gave the instructions that the appellant failed to follow,
      the individual who referred the appellant’s misconduct to others for investigation,
      and a witness for purposes of the associated investigation that led to the
      appellant’s removal.     IAF, Tab 8 at 5, Tab 48 at 174-75.          Although the
      administrative judge should have considered this, he did not. See Naval Station
      Norfolk-Hearing 2 v. Department of the Navy, 123 M.S.P.R. 144, ¶ 30 (2016)
      (recognizing that an individual’s role in the decision-making process that leads to
      an adverse action cannot be ignored in considering a claim of discrimination).
      For all these reasons, we must remand the appellant’s discrimination claim for
      further adjudication.     On remand, the administrative judge should address
      whether, among other methods like direct evidence, this case involves a
      “convincing mosaic” of circumstantial evidence of discrimination consisting of
      “suspicious timing, ambiguous statements oral or written, behavior toward or
      comments directed at other employees in the protected group, and other bits and
                                                                                       10

      pieces from which an inference of discriminatory intent might be drawn.” Wilson
      v. Small Business Administration, 2024 MSPB 3, ¶ 12.

      The administrative judge must further adjudicate the appellant’s EEO reprisal
      claim.
¶19        In her petition for review, the appellant also presents arguments about her
      EEO reprisal claim.    PFR File, Tab 3 at 14-19.      As recognized in the initial
      decision, this claim primarily concerned the appellant’s own EEO complaints
      about her supervisor, i.e., the Field Office Director, along with the appellant’s
      alleged support for a peer who had previously complained about the Field Office
      Director. ID at 16; IAF, Tab 46 at 6, 13-16. The administrative judge found that
      the deciding official in the appellant’s removal was aware of the appellant’s
      participation in her peer’s complaint, but that the deciding official testified that
      she was unaware of the appellant’s own more recent complaint. ID at 17. He
      further found that even if she was aware, this knowledge was insufficient to prove
      by preponderant evidence that the appellant’s prior protected EEO activity was a
      motivating factor in the appellant’s removal. Id.¶20        The appellant argues on review that this conclusion should be vacated for
      two reasons.   First, she argues that there was reason to question the deciding
      official’s credibility because the deciding official provided conflicting testimony
      about whether she had ever received complaints about the Field Office Director’s
      harassment, yet the administrative judge made no credibility findings regarding
      her testimony. PFR File, Tab 3 at 14-18 (referencing HT at 92-98 (testimony of
      the deciding official)).     Second, the appellant correctly notes that the
      administrative judge improperly focused all of his attention on the deciding
      official, without considering the degree to which the appellant’s supervisor, i.e.,
      the Field Office Director who was implicated by the EEO activity, influenced the
      removal action. Id.¶21        We agree that these allegations require further adjudication.      As already
      discussed, the administrative judge suggested that the Field Office Director, who
                                                                                      11

      was at the center of the alleged discrimination and resulting EEO activity, played
      no role in the appellant’s removal.     ID at 15.    But that individual played a
      significant role in the matter. IAF, Tab 8 at 5, Tab 48 at 174-75. Thus, the
      administrative judge must reconsider the appellant’s EEO reprisal claim in this
      light, making credibility determinations as needed to determine whether the
      appellant engaged in protected EEO activity that was a motivating factor in or a
      but for cause of the appellant’s removal.

      After further adjudicating the appellant’s affirmative defenses, the administrative
      judge must reconsider the reasonableness of the agency’s penalty.
¶22        Regarding the reasonableness of the agency’s chosen penalty, the appellant
      once again refers to the discrimination and reprisal she has alleged throughout
      this appeal.    PFR File, Tab 3 at 19-21.        The appellant argues that the
      circumstances caused extreme stress, such that she was on the verge of a nervous
      breakdown when she engaged in the misconduct underlying her appeal. Id. at 19.
      And, as alluded to previously, the appellant has asserted that almost all of her
      misconduct was done to secure documentation to protect against the discipline
      she anticipated by the Field Office Director.       IAF, Tab 6 at 6-9, 14-21; HT
      at 199-205 (testimony of the appellant).       According to the appellant, the
      administrative judge’s failure to decide whether the Field Office Director engaged
      in the types of behavior alleged by the appellant and others prevented the
      administrative judge from adequately analyzing the penalty.      PFR File, Tab 3
      at 20-21.   In other words, the appellant suggests that the administrative judge
      must decide whether and to what degree the appellant’s working situation was
      dysfunctional before deciding whether the agency’s penalty is reasonable. Under
      the circumstances, we agree that the administrative judge must consider the
      nature of the appellant’s workplace in addressing the penalty.
¶23        When the agency’s charges have been sustained, the Board will review an
      agency-imposed penalty only to determine if the agency considered all of the
      relevant factors and exercised management discretion within tolerable limits of
                                                                                       12

      reasonableness. Chin v. Department of Defense, 2022 MSPB 34, ¶ 24. The Board
      will modify a penalty only when it finds that the agency failed to weigh the
      relevant factors or that the penalty the agency imposed clearly exceeded the
      bounds of reasonableness.      Id.    However, if the deciding official failed to
      appropriately consider the relevant factors, the Board need not defer to the
      agency’s penalty determination. Id.¶24        On remand, the administrative judge should first address the appellant’s
      discrimination and EEO reprisal claims. If those claims do not require reversal of
      the appellant’s removal, the administrative judge must reconsider whether the
      agency has proven the reasonableness of its penalty. Among other things, the
      administrative judge should decide whether the deciding official appropriately
      considered mitigating factors identified by the appellant, i.e., the alleged
      harassment she had endured and her explanation that this was the reason for most
      of the misconduct underlying her removal. 4            See Douglas v. Veterans
      Administration, 5 M.S.P.R. 280, 332 (1980) (recognizing as relevant to the
      appropriateness of a penalty mitigating circumstances surrounding the offense,
      such as unusual job tensions, harassment, or bad faith, malice, or provocation on
      the part of others involved in the matter).

      The appellant has not established that the administrative judge exhibited bias that
      requires reassignment of this appeal.
¶25        The appellant’s final arguments on review are that the administrative judge
      exhibited bias in favor of the agency throughout this appeal. PFR File, Tab 3
      at 21-27.   She therefore asks that the Board remand this appeal to a different
      administrative judge. Id. at 28.
¶26        In making a claim of bias or prejudice against an administrative judge, a
      party must overcome the presumption of honesty and integrity that accompanies

      4
        The deciding official indicated that she could not conclude that the Field Office
      Director had engaged in harassment or created a hostile work environment, as alleged
      by the appellant, but that she nevertheless considered the appellant’s assertions of
      workplace tensions as a mitigating factor. IAF, Tab 5 at 18.
                                                                                       13

      administrative adjudicators. Oliver v. Department of Transportation, 1 M.S.P.R.
      382, 386 (1980). An administrative judge’s conduct during the course of a Board
      proceeding warrants a new adjudication only if the administrative judge’s
      comments or actions evidence “a deep-seated favoritism or antagonism that would
      make fair judgment impossible.”      Bieber v. Department of the Army, 287 F.3d
      1358, 1362-63 (Fed. Cir. 2002) (quoting Liteky v. United States, 510 U.S. 540,
      555 (1994)). While we have carefully considered the appellant’s allegations of
      bias, we are not persuaded by this contention.        The appellant has correctly
      identified some errors in the initial decision, for which we are remanding this
      appeal. But she has not shown that we must remand the appeal to a different
      administrative judge.

                                           ORDER
¶27        For the reasons discussed above, we remand this case to the regional office
      for further adjudication in accordance with this Remand Order. The appellant’s
      discrimination allegations involved race, color, ethnicity, and national origin, and
      she presented evidence about the same, all of which the administrative judge did
      not fully address. On remand, the administrative judge must consider all of these
      allegations in concert with the applicable legal standards. See Pridgen v. Office
      of Management and Budget, 2022 MSPB 31, ¶¶ 20-25, 30-33 (setting forth the
      legal standard and analytical framework for claims of Title VII discrimination);
      see also Burlington Industries, Inc. v. Ellerth, 524 U.S. 742, 754 (1998) (finding
      that a hostile work environment under Title VII requires a showing of severe or
      pervasive conduct); Wilson, 2024 MSPB 3, ¶¶ 11-19 (setting forth the ways in
      which an appellant can meet the motivating factor and but for causation standards
      that apply to Title VII discrimination claims).
¶28        On remand, the administrative judge must also consider the degree to which
      the Field Office Director played a role in the appellant’s removal. He must do so
      for purposes of the appellant’s discrimination claim, as well as her EEO reprisal
                                                                                            14

      claim. See Pridgen, 2022 MSPB 31, ¶ 30 (recognizing that claims of retaliation
      for opposing discrimination in violation of Title VII are analyzed under the same
      framework used for Title VII discrimination claims).
¶29         Finally, the administrative judge must reconsider the agency’s choice of
      penalty.   He should pay particular attention to the appellant’s allegations of
      extensive improprieties throughout her office and the reasons given for her
      misconduct, which she describes as interrelated, along with the deciding official’s
      consideration of those circumstances.
¶30         The administrative judge should inform the parties of the applicable legal
      standards regarding the affirmative defenses and the penalty, and he should
      provide the parties with an opportunity to submit associated arguments. If he
      deems it necessary, the administrative judge may also hold a supplemental
      hearing. The administrative judge must then issue a remand initial decision that
      addresses each of these issues and resolves any questions of credibility. He may
      incorporate his prior findings about the charges, which the appellant has not
      disputed on review, if appropriate. 5




      FOR THE BOARD:                           ______________________________
                                               Gina K. Grippando
                                               Clerk of the Board
      Washington, D.C.

      5
        If the evidence or argument on remand affects the administrative judge’s analysis of
      the merits of the agency’s case, he should address that evidence or argument in the
      remand initial decision. See Spithaler v. Office of Personnel Management , 1 M.S.P.R.
      587, 589 (1980) (explaining that an initial decision must identify all material issues of
      fact and law, summarize the evidence, resolve issues of credibility, and include the
      administrative judge’s conclusions of law and his legal reasoning, as well as the
      authorities on which that reasoning rests).
